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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION


CITY OF TERRE HAUTE, DEPARTMENT )
OF REDEVELOPMENT,               )
                                )
           Plaintiff,           )
                                )
      vs.                       )                         2:04-cv-0321-JDT-WGH
                                )
BILLY SOUTHARD , et al,         )
                                )
           Defendant.           )


       ORDER DIRECTING FILING OF A PLEADING AUTHORIZING DISMISSAL


       The court has been advised by counsel that a settlement has been reached in

this action. All that remains to be done is the execution of documents and/or delivery of

funds, if so required, in accordance with their agreement. Therefore, all pending

motions, if any, are now DENIED AS MOOT and all previously ordered dates relating to

discovery, filings, schedules, conferences and trial, if any, are VACATED.*


       IT IS ORDERED that within thirty days of this date, counsel for the Plaintiff(s)

shall file a motion to dismiss this cause or a stipulation of dismissal and submit an order

for the court's signature ordering the dismissal of this action (in conformance with the

agreement of the parties). Failure to comply with this order will result in DISMISSAL



   *
     The parties are notified that any exhibits, depositions, diagrams, or other evidentiary
documents previously filed with the court are now released to the parties who filed the same. If
such items are not retrieved by the parties from the clerk within thirty (30) days from the
dismissal of this cause, the items will be disposed of pursuant to the local rules of this court.
S.D. IND. LR 79.1.
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WITH PREJUDICE pursuant to Rule 41(b) of the Federal Rules of Civil Procedure for

failure to prosecute this action in a timely manner. Additional time to complete the

execution of the settlement document(s) may be granted if requested in writing prior to

the expiration of this period of time.


       ALL OF WHICH IS ORDERED this 14th day of November 2005.



                                            John Daniel Tinder, Judge
                                         _______________________________
                                           United States District Court
                                           John Daniel Tinder, Judge
                                           United States District Court
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